
PER CURIAM.
The state has filed a petition for certiorari seeking review of a decision of the circuit court sitting in its appellate capacity, affirming an order of the county court suppressing evidence of several statements made by defendant who was charged with DUI. Defendant was stopped for traffic infractions and erratic operation of his motor vehicle but was not “Mirandized” prior to responding to the deputy’s questions and performing certain roadside tests.
This case is controlled by this court’s recent opinion in State v. Burns, 20 Fla.L.Weekly D807 (Fla. 5th DCA Mar. 31, 1995). Accordingly, we grant certiorari, quash the lower court’s order and remand with directions to reverse the suppression order.
WRIT GRANTED, ORDER QUASHED and REMANDED.
COBB, PETERSON and GRIFFIN, JJ., concur.
